                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION
                                        XX
                                  No. 4:98-CR-62-4-BO
                                        96


JOSE PENA-ROSARIO,                            )
                                              )
                               Petitioner,    )
                                              )
               v.                             )               ORDER
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                               Respondent.    )
                                              )


       This matter is before the Court on Petitioner's Motion to Clarify Multiple Sentences of

Imprisonment. Petitioner is currently incarcerated at FCI - Fort Dix in Fort Dix, New Jersey.

The appropriate jurisdictional basis to challenge prior custody credit is through a petition for writ

of habeas corpus under 28 U.S.C. § 2241. Romandine v. United States, 206 F.3d 731, 736 (7th

Cir. 2000). Such a petition may only be maintained in the district where there is in personam

jurisdiction over Petitioner's immediate custodian. Rumsfeld v. Padilla, 542 U.S. 426, 434

(2004). Here, Petitioner's immediate custodian is the Warden ofFCI - Fort Dix in the District of

New Jersey. Therefore, the Motion is hereby DISMISSED because this Court lacks jurisdiction.


       SO ORDERED.

       This   U~ day of August, 2010.


                                              TE   NCE W. BOYLE
                                              UNITED STATES DISTRICT J




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